Case 2:18-cv-00503-JAK-MRW Document 19 Filed 05/02/18 Page 1 of 2 Page ID #:182



 1

 2

 3

 4

 5

 6

 7                                 UNITED STATES DISTRICT COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
 9

10 COLOR IMAGE APPAREL, INC., a                           Case No. 2:18-cv-00503 JAK (MRWx)
   California corporation,
11                                                        CONSENT JUDGMENT
                  Plaintiff,
12                                                        JS-6
13 v.

14 NAMASTETICS, INC.

15                  Defendant.
16

17

18
            Upon review of the Stipulation of the parties, IT IS HEREBY ORDERED:
19
            The Court shall retain jurisdiction over the parties and subject matter of the action.
20
            The parties have entered into a written confidential Settlement Agreement that sets forth the
21 rights and obligations of Plaintiff and Defendant. The parties expressly agree that this Court will

22 retain ancillary jurisdiction over this matter in law and equity for purposes of enforcing and/or

23 adjudicating any violation of the Settlement Agreement. Any such matters shall be raised by
   motion.
24
           Defendant shall refrain from designing, manufacturing, having made, importing, marketing,
25
   advertising, offering for sale, selling, or distributing Fusion Line Products, within the United States,
26
   as defined in the Settlement Agreement or assisting any third party in engaging in such activities, in
27 the United States.

28
Case 2:18-cv-00503-JAK-MRW Document 19 Filed 05/02/18 Page 2 of 2 Page ID #:183



 1
           The case is dismissed and judgment is entered consistent with the consent of the parties.
 2 IT IS SO ORDERED.

 3

 4
     Dated: May 2, 2018
 5

 6                                              JOHN A. KRONSTADT
                                                UNITED STATES DISTRICT JUDGE
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
